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                     United States District Court
                                   DISTRICT OF WYOMING


 JASON FICCA and CARMEN OCHOA/




                    V.                                Case Number
 Laramie County Community College
 District, et al.




                                       PRAECIPE


TO THE CLERK OF THIS SAID COURT:


       Please issue a Summons

in the above-entitled cause for:


Laramie County Community College District, a body corporate; Joe
Schaffer, its President in his individual and official
capacities; Cynthia Henning, the Athletic Director in her
individual and official capacities; and Tammy Maas. the Human
Resource Director in her individual and official capacities.




                                         Artorneiter PlaTntiffs

7/9/2021
Date
